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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND



 IN RE EMERGENT BIOSOLUTIONS INC.
 SECURITIES LITIGATION                                   Civil No. 8:21-cv-00955-PWG

                                                         CLASS ACTION

 THIS DOCUMENT RELATES TO:
 All Actions



  MOTION TO DISMISS PLAINTIFFS’ CONSOLIDATED AMENDED COMPLAINT

       Defendants Emergent BioSolutions, Inc., Robert G. Kramer, Richard S. Lindahl, and

Syed T. Husain respectfully move this Court for an Order dismissing, with prejudice, Plaintiffs’

Consolidated Amended Complaint for Violations of the Federal Securities Laws, dated March

19, 2022, pursuant to Rules 9(b) and 12(b)(6) of the Federal Rules of Civil Procedure, and the

Private Securities Litigation Reform Act of 1995, 15 U.S.C. § 78u-4 et seq., and granting such

other and further relief as the Court may deem just and proper. In support of the Motion to

Dismiss, Defendants incorporate herein the facts and arguments presented in the Memorandum

of Law in Support of Defendants’ Motion to Dismiss the Amended Complaint and the

accompanying Declaration of Timothy J. Perla, with attached exhibits, dated May 19, 2022.

Additionally, pursuant to Local Rule 105.6, Defendants respectfully request an oral argument on

this motion.
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Dated: May 19, 2022                Respectfully submitted,

                                  /s/ William M. Krulak, Jr.
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                                       Certificate of Service

       I HEREBY CERTIFY that on May 19, 2022, I caused the foregoing Motion to Dismiss

Plaintiffs’ Consolidated Amended Complaint, a supporting memorandum of law, the supporting

Declaration of Timothy J. Perla complete with all exhibits thereto, and a [Proposed] Order to be

electronically filed with the Clerk of the Court and served on all parties of record via the

CM/ECF electronic filings system.

                                              /s/ William M. Krulak, Jr.
                                              William M. Krulak, Jr.




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